        Case 1:14-cv-14176-ADB Document 686 Filed 08/05/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC.,

                             Plaintiff,

       v.

PRESIDENT AND FELLOWS OF HARVARD                          Civil Action No. 1:14-cv-14176-ADB
COLLEGE (HARVARD CORPORATION),

                             Defendant.



                        NOTICE OF WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 83.5.2(c), attorney Paul R. Q. Wolfson withdraws his appearance

pro hac vice as counsel for President and Fellows of Harvard College in this matter. After

August 20, 2021, Mr. Wolfson will no longer be associated with Wilmer Cutler Pickering Hale

and Dorr LLP. All other counsel who have entered appearances for President and Fellows of

Harvard College will remain as counsel of record.

                                                          Respectfully submitted,

                                                          /s/ Felicia H. Ellsworth
                                                          Felicia H. Ellsworth (BBO# 665232)
                                                          WILMER CUTLER PICKERING
                                                            HALE AND DORR LLP
                                                          60 State Street
                                                          Boston, MA 02109
                                                          Tel: (617) 526-6000
                                                          felicia.ellsworth@wilmerhale.com

                                                          Counsel for Defendant President and
                                                          Fellows of Harvard College

Dated: August 5, 2021
         Case 1:14-cv-14176-ADB Document 686 Filed 08/05/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                       /s/ Felicia H. Ellsworth
                                                       Felicia H. Ellsworth
